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                              UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION
     ELISA GONZALES                                §
           Plaintiff,                              §
                                                   §
                                                   §
     v.                                            §   CIVIL ACTION NUMBER
                                                   §   NO. 4:15-CV-175
                                                   §
     GEICO GENERAL INSURANCE                       §
     COMPANY                                       §
          Defendant.                               §


                 ORDER GRANTING PLAINTIFF'S MOTION FOR DISMISSAL


           On April 21, 2015, the Court considered the Plaintiff's Motion to Dismiss Complaint

    Number 4:15-CV-175, Elisa Gonzales v. GEICO General Insurance Company (Dkt. #5).

    After due consideration of the motion, the Court finds the motion should be GRANTED and

.   orders the following:

           Civil Action Number 4:15-CV-175, Elisa Gonzales v. GEICO General Insurance Company,

    is DISMISSED and taxed are cost against the party incurring the same.

          IT IS SO ORDERRED.
           SIGNED this 21st day of April, 2015.




                                        ___________________________________
                                        AMOS L. MAZZANT
                                        UNITED STATES DISTRICT JUDGE




    ORDER GRANTION PLAINTIFF'S MOTION TO DISMISS                               PAGE 1 OF 1
